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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             New York
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                  q Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.   Debtor’s name                           Mercon Coffee Corporation
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             MCC
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               1 ___
                                              ___ 3 – ___
                                                      3 ___
                                                          1 ___
                                                             2 ___
                                                                1 ___
                                                                   8 ___
                                                                      4 ___4         4
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              999         Ponce de Leon Blvd.
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              Suite 910
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Coral Gables                FL       33134
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Miami-Dade
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  www.merconcoffeegroup.com
                                              ____________________________________________________________________________________________________




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Debtor        Mercon Coffee Corporation
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                        q Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            q Partnership (excluding LLP)
                                            q Other. Specify: __________________________________________________________________

                                            A. Check one:
 7.   Describe debtor’s business
                                            q Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            q Railroad (as defined in 11 U.S.C. § 101(44))
                                            q Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            q Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            q Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            q None of the above

                                            B. Check all that apply:

                                            q Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            q Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            q Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                4 ___
                                               ___ 2 ___
                                                      4 ___
                                                         5

 8.   Under which chapter of the            Check one:
      Bankruptcy Code is the
      debtor filing?                        q Chapter 7
                                            q Chapter 9
                                            q Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                   q The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                             11 U.S.C. § 1116(1)(B).
      check the second sub-box.                             q The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                            q A plan is being filed with this petition.
                                                            q Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            q The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            q The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            q Chapter 12




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Debtor         Mercon Coffee Corporation
               _______________________________________________________                       Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         q No
      filed by or against the debtor
      within the last 8 years?            q Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10. Are any bankruptcy cases             q No
      pending or being filed by a                       See attached
      business partner or an              q Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                      District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                       Case number, if known ________________________________



 11. Why is the case filed in this        Check all that apply:
      district?
                                          q Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          q A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          q No
      possession of any real              q Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                  q It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                  q It needs to be physically secured or protected from the weather.
                                                  q It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                  q Other _______________________________________________________________________________


                                                  Where is the property? _____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                  Is the property insured?
                                                  q No
                                                  q Yes. Insurance agency ____________________________________________________________________
                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




              Statistical and administrative information




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Debtor      Mercon Coffee Corporation
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      û /s/
                                          _____________________________________________            Date        12/06/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Blaire Cahn
                                         _________________________________________________________________________________________________
                                         Printed name
                                         Baker & McKenzie LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         452            Fifth Avenue
                                         _________________________________________________________________________________________________
                                         Number     Street
                                         New York
                                         ____________________________________________________            NY
                                                                                                         ____________ 10012
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                         212-626-4695
                                         ____________________________________                             blaire.cahn@bakermckenzie.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         4737276
                                         ______________________________________________________ NY
                                                                                                ____________
                                         Bar number                                             State




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                                              SCHEDULE 1

                    Pending Bankruptcy Cases Filed by the Debtors in this Court

        On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”) filed a
voluntary petition for relief under chapter 11 of the Bankruptcy Code, in the United States Bankruptcy
Court for the Southern District of New York. Contemporaneously herewith, the Company is filing a
motion requesting the joint administration of these chapter 11 cases for procedural purposes only under
the case number assigned to Mercon Coffee Corporation.

   1.  Agro International Holding B.V.
   2.  Cisa Export S.A.
   3.  Comercial Internacional de Granos de Honduras, S.A. de C.V.
   4.  Comercial Internacional Exportadora Sociedad Anónima or
       Comercial Internacional Exportadora, S.A.
   5. Distribuidora de Granos de Nicaragua, Sociedad Anónima
   6. Mercafe Vietnam LTD.
   7. Mercapital de Nicaragua, Sociedad Anónima or Mercapital de Nicaragua, S.A.
   8. Mercon B.V.
   9. Mercon Brasil Comércio de Café Ltda.
   10. Mercon Coffee Corporation
   11. Mercon Guatemala, S.A.




                                                                                                            1
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Paul J. Keenan Jr. (pro hac vice pending)
John R. Dodd (pro hac vice pending)
Reginald Sainvil (pro hac vice pending)
Baker & McKenzie LLP
1111 Brickell Avenue, 10th Floor
Miami, FL 33130
Telephone: 305-789-8900
Facsimile: 305-789-8953
Email: paul.keenan@bakermckenzie.com
        john.dodd@bakermckenzie.com
        reginald.sainvil@bakermckenzie.com

Blaire Cahn
Baker & McKenzie LLP
452 Fifth Avenue
New York, NY 10018
Telephone: 212-626-4695
Facsimile: 212-310-1695
Email: blaire.cahn@bakermckenzie.com

Proposed Counsel for the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                Chapter 11

MERCON COFFEE CORPORATION,                            Case No.

      Debtor.
__________________________________________/


                       LIST OF EQUITY SECURITY HOLDERS

             Name and Address                              % Equity Interest


                 Mercon B.V.                                       100%
         De Ruijterkade 142, 1011 AC
         Amsterdam, the Netherlands
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Paul J. Keenan Jr. (pro hac vice pending)
John R. Dodd (pro hac vice pending)
Reginald Sainvil (pro hac vice pending)
Baker & McKenzie LLP
1111 Brickell Avenue, 10th Floor
Miami, FL 33130
Telephone: 305-789-8900
Facsimile: 305-789-8953
Email: paul.keenan@bakermckenzie.com
        john.dodd@bakermckenzie.com
        reginald.sainvil@bakermckenzie.com

Blaire Cahn
Baker & McKenzie LLP
452 Fifth Avenue
New York, NY 10018
Telephone: 212-626-4695
Facsimile: 212-310-1695
Email: blaire.cahn@bakermckenzie.com

Proposed Counsel for the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                       Chapter 11

MERCON COFFEE CORPORATION,                                   Case No.

      Debtor.
________________________________/


                         CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following are the corporations, other than a governmental unit, that directly own 10% or more of

any class of the above-captioned debtor’s equity interest:


                   Mercon B.V.                                      100% Owner
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 Fill in this information to identify the case
 Debtor name Mercon Coffee Corporation                                    .
 United States Bankruptcy Court for the: Southern District of New York
 Case number (If known): _________________________
                                                                                                                        g Check if this is an
                                                                                                                        amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders
12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

 Name of creditor and         Name, telephone number, and email address       Nature of the   Indicate if     Amount of unsecured claim
 complete mailing address,    of creditor                                     claim           claim is        If the claim is fully unsecured, fill in only
 including zip code           contact                                         (for example,   contingent,     unsecured claim amount. If claim is partially
                                                                              trade debts,    unliquidated,   secured, fill in total claim amount and
                                                                              bank loans,     or disputed     deduction for value of collateral or setoff to
                                                                              professional                    calculate unsecured claim
                                                                              services, and                   Total          Deduction       Unsecured
                                                                              government                      claim, if      for value of    claim
                                                                              contracts)                      partially      collateral or
                                                                                                              secured        setoff
 1.     Stichting             Johnny Brom                                     Subordinated                                                       $20,000,000
        andgreen.fund         +31 (0)70 744 8884                              Loan
        (&Green)              brom@sailventures.com
        Basisweg 10,
        1043AP, Amsterdam,
        The Netherlands

 2.     Crowdout Capital      Adam R. Weber                                   Subordinated                                                     $20,000,000
        LLC                   512.538.1883                                    Loan
        812 San Antonio St    aweber@crowdoutcapital.com
        Suite 105
        Austin, TX 78701


 3.     LaFise Nicaragua      Manuel Jerez                                    Bank Loan                                                        $19,490,776
        Centro Financiero     (505) 2255-8888 Ext. 4244.
        LAFISE,               mjerez@lafise.com
        Km. 5 1/2
        Carretera Masaya
        Codigo Postal 14187
        Managua, Nicaragua
 4.     London Forfaiting     Carlos Lunardini                                Bank Loan                                                        $13,000,000
        15 Austin Friars      (+1) 212 377-2016
        London, EC2N 2HE      Carlos.Lunardini@forfaiting.com
        United Kingdom



 5.     Banco Agromercantil   Felipe Alfonso Galvez Berganza                  Bank Loan                                                         $9,000,000
        7a. Avenida 7-30      +502 2338- 6565 Ext.: 97691
        Zona 9                felipe.galvez@bam.com.gt
        Codigo Postal 01009
        Ciudad de Guatemala
        Guatemala

 6.     Nederlandse           Anton Timpers                                   Subordinated                                                      $5,000,000
        Financierings-        +31 (0)70 314 9778                              Loan
        Maatschappij voor     a.timpers@fmo.nl
        Ontwikkelingslanden
        N.V. (FMO)
        Anna van Saksenlaan
        71 I P.O. Box 93060
        2509 AB
        The Hague
        The Netherlands




Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 1
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Debtor Mercon Coffee Corporation                                                         Case number (if known)_____________________________________
       Name


 Name of creditor and        Name, telephone number, and email address   Nature of the        Indicate if     Amount of unsecured claim
 complete mailing address,   of creditor                                 claim                claim is        If the claim is fully unsecured, fill in only
 including zip code          contact                                     (for example,        contingent,     unsecured claim amount. If claim is partially
                                                                         trade debts,         unliquidated,   secured, fill in total claim amount and
                                                                         bank loans,          or disputed     deduction for value of collateral or setoff to
                                                                         professional                         calculate unsecured claim
                                                                         services, and                        Total          Deduction       Unsecured
                                                                         government                           claim, if      for value of    claim
                                                                         contracts)                           partially      collateral or
                                                                                                              secured        setoff
 7.   Common Fund For        Ms. Tia Sudjarwo                            Bank Loan                                                                $4,000,000
      Commodities            0031 20 5754967
      Rietlandpark 301       tia.sudjarwo@common-fund.org
      1019 DW
      Amsterdam
      Netherlands

 8.   Banco Internacional    Karla Castillo - Ejecutivo Corporativo      Bank Loan                                                              $3,500,000
      de Costa Rica          +505 8884-2096
      Avenida Balboa y       kcastillo@bicsa.com
      Calle Aquilino De La
      Guardia Código
      Postal: 081607810
      Ciudad de Panamá
      Panamá
 9.   Banco Safra S.A.       Thiago de Castro Santos                     Bank Loan                                                              $3,246,500
      Av. Paulista           55 11 2472-4133
      2100 6 Andar           castro.thiago@safra.com.br
      Sao Paulo
      Zip Code 01310-930


 10. BAC Panama              Ramiro Jesus Aguilar Ochoa                  Bank Loan                                                              $3,000,000
     Calle Aquilino          (507) 6151-8196,
     De La Guardia           (507) 6439-5496
     Edificio BAC            RamiroAguilarO@pa.bac.net
     Credomatic
     Código Postal:
     081906536
     Ciudad de Panamá
     Panamá.
 11. BAC Nicaragua           Myriam Caldera Gurdian                      Bank Loan                                                              $2,000,000
     Centro Financiero       (505) 2274-4444.
     BAC Km 4 1/2            (505) 8871 1314
     Carretera a Masaya      mcaldera@baccredomatic.ni
     Código Postal 14125
     Managua, Nicaragua

 12. Banco de Finanzas       Maria Felicia Otero Castilblanco            Bank Loan                                                              $2,000,000
     S.A.                    +(505) 2276-8600 Ext 2075
     Centro Corporativo      +(505) 8720-1129
     BDF Del Club            maria.otero@bdfnet.com
     Terraza 440m. al este
     Código Postal 14114
     Managua, Nicaragua
 13. Zenith Group            Cole Reifler -                              Trade                                                                  $1,800,000
     Advisors                310 382 0211
     445 Park Avenue         creifler@zenithgroupadvisors.com
     9th Floor
     New York, NY 10022


 14. Banco ABC Brasil        Michelle Amorim de Araujo Cunha             Bank Loan                                                              $1,227,524
     S.A.                    55 (31) 99885-9464
     AV. Cidade Jardim       michelle.cunha@abcbrasil.com.br
     803 2O Andar
     Sao Paulo/SP
     Zip Code 01453-000

 15. Banco Santander         Rafael Carvalho de Souza                    Bank Loan                                                                $807,556
     (Brasil) S.A.           55 (35) 999507388
     Av. Pres. Juscelino     rafael.carvalho.de.souza@santander.com.br
     Kubitschek 2041 - CJ
     281, Bloco A, Cond.
     Wtorre JK - Vila
     Nova Conceição
     São Paulo-Sp
     Zip Code: 04543-011




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 2
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Debtor Mercon Coffee Corporation                                                             Case number (if known)_____________________________________
       Name


 Name of creditor and          Name, telephone number, and email address     Nature of the        Indicate if     Amount of unsecured claim
 complete mailing address,     of creditor                                   claim                claim is        If the claim is fully unsecured, fill in only
 including zip code            contact                                       (for example,        contingent,     unsecured claim amount. If claim is partially
                                                                             trade debts,         unliquidated,   secured, fill in total claim amount and
                                                                             bank loans,          or disputed     deduction for value of collateral or setoff to
                                                                             professional                         calculate unsecured claim
                                                                             services, and                        Total          Deduction       Unsecured
                                                                             government                           claim, if      for value of    claim
                                                                             contracts)                           partially      collateral or
                                                                                                                  secured        setoff
 16. Blendcoffee               Julio Cesar Galon Moro                        Trade                                                                       $589,804
     Comercio Exportacao       (27) 99984-1250
     EI                        Diretoria@blendcoffee.ind.br
     Avenida Cerejeiras,
     395 - Bairro Movelar.
     Linhares/ES

 17. Expocaccer – Matriz       Rubstein                                      Trade                                                                      585,283
     Av Faria Pereira.         55 34 3839-9300
     Patrocinio                rubstein@expocaccer.com.br
     Minas Gerais 38740-
     514,
     Brasil

 18. Aklilu Kassa              Dessalegn Jena                                Trade                                                                      350,266
     Chirrissa (Nardos         +251114667545/0298
     Coffee Export)            dessalegnjena@gmail.com;
     Akaky Kality              info@nardoscoffee.com
     Subcity, Woreda 05,
     House No. 9999,
     Addis Ababa,
     Ethiopia
 19. Banapiña de               Carlos Taboada                                Trade                                                                     $179,124
     Nicaragua, S.A.           +505 2254-5454
     Oficina Asesores          ctaboada@consortiumlegal.com
     Legales Consortium,
     De donde fue el
     Hospital Militar, 1C.
     Al lago, 10 varas
     abajo, Managua,
     Nicaragua.
 20. Nova Safra                Viviane Maselli Spínola                       Trade                                                                     $169,570
     Transportes Ltda          55 (35) 3222-7676
     Av. Otto Salgado,         (35) 99229-3913
     700 Distrito Industrial   comercial@novasafralog.com.br
     Claudio Galvão De
     Nogueira,
     Varginha - MG
     37026-690
 21. Commodity Supplies        Kornelia Tiede                                Trade                                                                     $146,322
     AG                        +1 305-207-2954
     7975 NW 154th St          kornelia.tiede@commodity.ch
     Suite 200.
     Miami Lakes, FL
     33016
     United States
 22. Kerchanshe Trading        Yigezu Legesse                                Trade                                                                      143,519
     plc                       +251-XX-XXXXXXX/+251-XX-XXXXXXX
     6th Floor, Africa         info@kerchanshe.com
     Insurance Building,
     South African Street
     P.O. Box 19891
     Addis Ababa,
     Ethiopia
 23. Revolucao                 Lincoln Moreira Gabriel                       Trade                                                                     $134,080
     Transportes Ltda F        55 (35) 3015-2706
     Alameda Do Cafe,          (33) 99921-9561
     195 - Jardim Andere       lincoln.gabriel@revolucaotransportes.com.br
     – Varginha/ MG -
     Zip Code: 37026-400

 24. Jorge Luiz Maiolini       Jorge Luiz Maiolini                           Trade                                                                     $129,326
     Faz Cruz De Moisés,       (35) 99988-2522
     S/N, Zona Rural,
     Eloi Mendes - Mg.
     Zip Code: 31110-000




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                       page 3
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Debtor Mercon Coffee Corporation                                                         Case number (if known)_____________________________________
       Name


 Name of creditor and        Name, telephone number, and email address   Nature of the        Indicate if     Amount of unsecured claim
 complete mailing address,   of creditor                                 claim                claim is        If the claim is fully unsecured, fill in only
 including zip code          contact                                     (for example,        contingent,     unsecured claim amount. If claim is partially
                                                                         trade debts,         unliquidated,   secured, fill in total claim amount and
                                                                         bank loans,          or disputed     deduction for value of collateral or setoff to
                                                                         professional                         calculate unsecured claim
                                                                         services, and                        Total          Deduction       Unsecured
                                                                         government                           claim, if      for value of    claim
                                                                         contracts)                           partially      collateral or
                                                                                                              secured        setoff
 25. Detech Coffee           Mr. Sinh - To dan pho Thap, Phuong Di Su,   Trade                                                                       $111,386
     To dan pho Thap,        Thi xa My Hao, Tinh Hung Yen, Vietnam
     Phuong Di Su, Thi xa    Mr Sinh - 0221 730 6688
     My Hao, Tinh Hung       sinh@detechcoffee.com
     Yen, Vietnam


 26. M&M Cafe Ltda           M&M Cafe Ltda                               Trade                                                                     $106,603
     Avenida Melo Viana,     55 33 3331-1879
     604. Manhuaçu,          escritaservicoscontabeis@gmail.com;
     Minas Gerais            mbr.voucher@merconcorp.com
     36902-290


 27. Agroindustrias          Alfredo Bojalil                             Trade                                                                      $86,321
     Unidas de México        +52 55 52576500
     S.A. de C.V.            alfredo.bojalil@ecomtrading.com
     (AMSA)
     Bosques de Alisos No
     45-A 2do piso,
     Bosques las Lomas,
     Ciudad de México,
     DF, México.
 28. Revolucao               Lucas Moreira                               Trade                                                                      $83,010
     Transportes Ltda BA     55 3333316736
     Rua Maximo Matos,       lucas.gabriel@revolucaotransportes.com.br
     6 SL1. Encruzilhada,
     Bahía 45150-000


 29. Federacion Nacional     Germán Bahamón                              Trade                                                                      $81,991
     de Cafeteros de         31367003136600/3137317
     Colombia                german.bahamon@cafedecolombia.com
     Calle 73 Numero 8-
     13, Bogotá,
     Colombia

 30. Finca Churupampa        Finca Churupampa Perú S.A.C.                Trade                                                                      $75,905
     Perú S.A.C.             +51 949 605 978
     Cal Chinchipe SN        contacto@fincachurupampa.com
     Centro Chirinos. San
     Ignacio,
     Perú




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                                                                                EXECUTION VERSION


                      ACTION BY UNANIMOUS WRITTEN CONSENT
                          OF THE BOARD OF DIRECTORS OF
                          MERCON COFFEE CORPORATION
                                a New York corporation

                              December 5, 2023 (the “Effective Date”)

       The undersigned, being all of the Directors of Mercon Coffee Corporation, a New York
corporation (the “Corporation”), in accordance with Section 708(b) of the Business Corporation
Law of the State of New York, hereby consent to, vote for and adopt the following resolutions
with effect as of the Effective Date:

        1.      Filing of Bankruptcy Petition for the Corporation

        WHEREAS, the Corporation’s Board of Directors (the “Board”) has considered the
financial and operational aspects of the Corporation’s business and the recommendations of the
Corporation’s professionals and advisors;

        NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Board, it is
desirable and in the best interests of the Corporation, its creditors, equityholders and other
interested parties that a petition (the “Petition”) be filed by the Corporation seeking relief under
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”); and be it

         FURTHER RESOLVED, that Mr. Harve Light shall serve as Chief Restructuring Officer
of the Corporation (the “CRO”) and shall have the powers and duties as set forth in his engagement
letter, for the term set forth in such letter or, if earlier, until his earlier resignation or removal; and
that the CRO shall be authorized and empowered to act on behalf of the Corporation in any judicial
or other proceedings in any foreign country and to act in any way permitted by applicable foreign
law, including, but not limited to (a) commencing a Wet Homologatie Onderhands Akkoord in the
Netherlands, (b) seeking recognition of the chapter 11 case of the Corporation in Brazil, and (c)
commencing a plenary insolvency proceeding or seeking recognition in an ancillary insolvency
proceeding in any foreign country in any way permitted by applicable foreign law; and be it

        FURTHER RESOLVED, that the President, Chief Executive Officer, Chief Financial
Officer, CRO, and any other person designated and so authorized to act by applicable law, the
Corporation’s governing documents, or by a written resolution passed by the Board (collectively,
such persons, the “Authorized Officers” and each an “Authorized Officer”) are hereby authorized
and empowered on behalf of and in the name of the Corporation to execute, verify and cause to be
filed the Petition, together with schedules of assets and liabilities, the statement of financial affairs
and other ancillary documents required by the Bankruptcy Code and the Federal Rules of
Bankruptcy Procedure to be filed with the Petition, at such time as the Authorized Officers consider
it appropriate; and be it

       FURTHER RESOLVED, that, to the extent the Corporation serves as (i) the sole member
or manager, (ii) the sole stockholder or equityholder, (iii) the managing member, (iv) the general
partner or (v) otherwise as the governing body (the “Controlling Party”), in each case, of any
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subsidiary of the Corporation (the “Controlled Party”), each Authorized Officer of the Controlling
Party, any one of whom may act without the joinder of any of the others, is hereby authorized in
the name and on behalf of the Controlling Party (acting for such Controlled Party in the capacity
set forth above, as applicable) to take all of the actions on behalf of such Controlled Party that an
Authorized Officer is herein authorized to take on behalf of such Controlling Party, in each subject
to Board approval as required under the governing documents.

        FURTHER RESOLVED, that in connection with the commencement of the chapter 11
case by the Corporation, each Authorized Officer be, and each hereby is, authorized and
empowered on behalf and in the name of the Corporation, to negotiate, execute, deliver and
perform or cause the performance of (i) one or more debtor in possession Credit Agreements with
the Corporation and any pertinent affiliates as borrowers or guarantors on the terms and for such
amounts as any Authorized Officer deems appropriate (collectively, the “Credit Agreements”), (ii)
any and all agreements or instruments on behalf of the Corporation and any pertinent affiliates
(including, in connection therewith, such notes, security agreements, guarantees, fee letters and
other agreements or instruments on behalf of die Corporation and any pertinent affiliates (such
other agreements and instruments together with the Credit Agreements being referred to
collectively as the “Financing Documents”)) necessary or advisable in order to consummate the
transactions contemplated by the Financing Documents, with such changes to the Financing
Documents or additions thereto as the Authorized Officer executing the same shall approve as
being necessary or desirable, such approval to be evidenced by such execution and (iii) any and
all amendments, supplements and changes to the Financing Documents as any such Authorized
Officer executing the same may consider necessary, proper or desirable, such determination to be
evidenced by such execution; and be it

        FURTHER RESOLVED that the Authorized Officers, and any employees or agents
(including counsel) designated by or directed by the Authorized Officers, shall be, and each hereby
is, authorized and empowered to cause the Corporation and such of its affiliates as management
deems appropriate to enter into, execute, deliver, certify, file, record, and perform such
agreements, instruments, motions, affidavits, applications for approvals or rulings of governmental
or regulatory authorities, certificates or other documents, and to take such other actions, as in the
judgment of such Authorized Officer shall be necessary, proper, and desirable to prosecute to a
successful completion the Corporation’s chapter 11 case and to carry out and put into effect the
purposes of the foregoing resolutions, and the transactions contemplated by these resolutions, their
authority thereunto to be evidenced by the taking of such actions; and be it

       FURTHER RESOLVED, that the Authorized Officers shall be, and each hereby is,
authorized and empowered on behalf of, and in the name of, the Corporation to retain Baker &
McKenzie LLP, Riveron Management Services, LLC, and such other attorneys, investment
bankers, accountants, financial advisors, claims and noticing agents, and other professionals or
service providers to assist in the Corporation’s chapter 11 case on such terms as are deemed
necessary, proper, or desirable by the Authorized Officers.

       2.      General Authorization

        NOW, THEREFORE, BE IT RESOLVED, that any and all acts taken and any and all
certificates, instruments, agreements or other documents executed on behalf of the Corporation by
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the Authorized Officers prior to the adoption of the foregoing resolutions with regard to any of the
transactions, actions, certificates, instruments, agreements or other documents authorized or
approved by the foregoing resolutions be, and they hereby are, ratified, confirmed adopted and
approved; and be it

        FURTHER RESOLVED, that any specific resolutions that may be required to have been
adopted by the Board to effectuate the matters and transactions contemplated by the foregoing
resolutions be, and they hereby are, adopted, and the members of the Board, officers and authorized
representatives (including the Authorized Officers) of the Corporation be, and each of them acting
alone hereby is, authorized in the name and on behalf of the Corporation to certify as to the
adoption of any and all such resolutions; and be it

       FURTHER RESOLVED, that the Authorized Officers shall be, and each hereby is,
authorized and empowered on behalf of the Corporation and in its name to take or cause to be
taken all actions and to execute and deliver all such instruments that such Authorized Officer
determines are necessary or desirable in connection with the foregoing resolutions; and be it

        FURTHER RESOLVED, that this written consent may be signed in any number of
counterparts (including by means of facsimile signature), each of which shall be deemed to be an
original, and all of which taken together shall be deemed to be a single consent.

                          [Remainder of Page Intentionally Left Blank.]
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              IN WITNESS WHEREOF, the undersigned, being all of the members of the Board, hereby
      consent to and adopt the foregoing resolutions as of the Effective Date, and waive the requirement that a
      meeting be held to accomplish the same.




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              IN WITNESS WHEREOF, the undersigned, being all of the members of the Board, hereby
      consent to and adopt the foregoing resolutions as of the Effective Date, and waive the requirement that a
      meeting be held to accomplish the same.




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